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 04/15/2024 Return - Mail ...

   Comment
   Notice Ready for Trial - 1/3/24

 04/18/2024 Notice - Withdrawal of Attorney

 04/23/2024 Motion - Set Aside ..,

   Comment
   Limited JGM from 12.28.2023 and Emergency Hearing on Kidnapping

 04/24/2024 Trial - Court ,..

 Judicial Officer
 Orr, David J.

 Hearing Time
 9:00AM
 Cancel Reason
 Judgment

 04/24/2024 Digitized Judgment Document ...

   Judicial Officer
   Orr; David J.

 04/24/2024 Notice - Judgment Entry

 04/24/2024 Closed                               EXHIBIT 25 - PAGE 1 OF 1
